Case 6:07-cr-00008-PGB-KRS Document 67 Filed 04/30/07 Page 1 of 2 PageID 166




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

     UNITED STATES OF AMERICA

     vs.                                           CASE NO. 6:07-CR-8-ORL-19KRS

     ANTHONY LEVERT MEDLOCK, JR.

                                              ORDER

            This case having been considered by the Court on Report and Recommendation

     Concerning Plea of Guilty (Doc. No. 61, filed April 25, 2007) and no objection thereto

     having been filed, it is ORDERED:

            1.      The Report and Recommendation of the United States Magistrate Judge (Doc.

     No. 61) is ACCEPTED, AFFIRMED AND ADOPTED.

            2.      Defendant Anthony Levert Medlock, Jr. has entered a plea of guilty to Count

     Ten of the Indictment knowingly, intelligently and voluntarily. Such plea is accepted, and

     Defendant is adjudicated guilty of Count Ten of the Indictment.

            3.      Ruling on acceptance of the Plea Agreement (Doc. No. 63, filed April 26,

     2007) is deferred until the time of sentencing.

            DONE AND ORDERED at Orlando, Florida, this 28th                 day of April, 2007.




     Copies to:
     Assistant United States Attorney
     Attorney for Defendant
Case 6:07-cr-00008-PGB-KRS Document 67 Filed 04/30/07 Page 2 of 2 PageID 167




     United States Marshal
     United States Probation
     United States Pretrial Services
     Defendant
     Courtroom Deputy
